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 MARSHALL DENNEHEY WARNER COLEMAN & GOGGIN
 Howard B. Mankoff, Esq.
 Pauline F. Tutelo, Esq.
 425 Eagle Rock Avenue, Suite 302
 Roseland, NJ 07068
 973-618-4100         973-618-0685
  hbmankoff@mdwcg.com
  pftutelo@mdwcg.com
 ATTORNEYS FOR DEFENDANT – Township of Jackson, New Jersey

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

                                     ** ELECTRONICALLY FILED **

  AGUDATH ISRAEL OF AMERICA, a
  New York non-profit corporation, and                   CASE NO.: 3:17-cv-03226-MAS-DEA
  WR PROPERTY LLC, a New Jersey
  limited liability company,

  Plaintiffs                                             Civil Action


                           v.                                         DECLARATION OF
                                                                   HOWARD B. MANKOFF, ESQ
  TOWNSHIP OF JACKSON, NEW
  JERSEY

  Defendant



          I, HOWARD B. MANKOFF, ESQ., of full age, under penalty of perjury,

 declares as follows:

     1. I am shareholder at Marshall Dennehey Warner Coleman & Goggin in this

 litigation. As such, I am fully familiar with the facts herein.

     2. I submit this declaration in support of defendants opposition to Plaintiffs’

 Motion for Preliminary Injunction Pursuant to Federal Rule of Civil Procedure 65.
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    3. Attached hereto as Exhibit A, is plaintiffs’ Second Amended Complaint.

    4. Attached hereto as Exhibit B, is the Judge Marlene Lynch Ford’s October

 19, 2015 Summary of Decision in the Oros Bais Yaakov High School v. The Zoning

 Board of Adjustment the Township of Jackson at Docket Number OCN-L-2981-14.

    5. Attached hereto as Exhibit C is the Superior Court of New Jersey’s March

 20, 2019 Decision in State v. WSNP, LLC, New Jersey Superior Court No. 19-09

 (March 20, 2019).

    6. Attached hereto as Exhibit D is this Court’s July 19, 2019 Scheduling Order.

                                     DECLARATION

       I hereby declare under penalty of perjury that the foregoing statements are true

 and correct pursuant to 28 U.S.C. §1746.



                                                     /s/ Howard B. Mankoff
                                               By: ________________________
                                                    HOWARD B. MANKOFF, ESQ.
 Dated: September 23, 2019
